              Case 2:08-cr-00474-WBS Document 55 Filed 08/27/09 Page 1 of 2


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 5
     Attorney for Defendant
 6   DINO ROSETTI
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  ) Case No. CR-S-08-474 EJG
                                                )
12                         Plaintiff,           ) STIPULATION AND ORDER
                                                ) CONTINUING STATUS CONFERENCE
13          v.                                  )
                                                ) Date: September 11, 2009
14                                              ) Time: 10:00 a.m.
                                                ) Judge: Hon. Edward J. Garcia
15   DINO ROSETTI                               )
                                                )
16                Defendants.
     __________________________
17
            IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, PHILLIP FERRARI, Assistant United States
19
     Attorney, attorney for Plaintiff, and MARK J. REICHEL, Esq., attorney
20
     for defendant, DINO ROSETTI, that the present date for the status
21
     hearing be vacated and re calendared for September 11, 2009.
22
23
            This continuance is requested as the parties are presently in
24
     negotiations to resolve the matter and have met on two separate
25
     occasions very recently to do so, hoping to prevent the unnecessary use
26
     of judicial resources for resolution of various matters, and witnesses
27
28   Stip and Order continuing status hearing
              Case 2:08-cr-00474-WBS Document 55 Filed 08/27/09 Page 2 of 2


 1   were recently re interviewed for clarification of various statements on
 2   important issues, and both sides are meeting and also discussing the
 3   impact of the statements.
 4
 5          Accordingly, all counsel and defendant agree that time under the
 6   Speedy Trial Act from the date this stipulation is lodged, through
 7   September 11, 2009 should be excluded in computing the time within
 8   which trial must commence under the Speedy Trial Act, pursuant to Title
 9   18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
10   DATED: August 26, 2009.       Respectfully submitted,
11                                       MARK J. REICHEL, ESQ.
12                                       /s/ MARK J. REICHEL
                                         MARK J. REICHEL
13                                       Attorney for defendant
                                         DINO ROSETTI
14
15                                       LAWRENCE BROWN
                                         United States Attorney
16
17   DATED: August 26, 2009.             /s/MARK J. REICHEL for:
                                         PHILLIP FERRARI
18                                       Assistant U.S. Attorney
                                         Attorney for Plaintiff
19
20                                       O R D E R
21          IT IS SO ORDERED.     Time is excluded in the interests of justice
22   pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
23
24   DATED: August 26, 2009.
25                                  /s/ Edward J. Garcia
                                   THE HONORABLE EDWARD J. GARCIA
26                                 Senior, United States District Court Judge
27
28


     Stip and Order                            2
